Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 1 of 14 PageID 1029




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION

 OTIS MILLER,

       Plaintiff,

 v.                                               CASE NO.: 5:20-cv-323-JSM-PRL

 FLORIDA DEPARTMENT OF
 CORRECTIONS, et al.,

      Defendants.
 __________________________/

      PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
           AND INCORPORATED MEMORANDUM OF LAW

       Plaintiff Otis Miller, by and through the undersigned counsel, pursuant to Rule

 56(a) of the Federal Rules of Civil Procedure, hereby files this Motion for Partial

 Summary Judgment, moving this honorable Court for the entry of an Order granting

 judgment as to the issue of whether Plaintiff is has a disability for purposes of his

 claims against Defendant Florida Department of Corrections (“FDC”) for violation

 of the Americans with Disabilities Act (“ADA”) and the Rehabilitation Act (“RA”).

 The record evidence indisputably demonstrates that Plaintiff had a documented

 developmental disability during his incarceration, including prior to and at the time

 of the events giving rise to this action. Accordingly, Plaintiff is entitled to summary

 judgment as to the disability element of his ADA and RA claims.
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 2 of 14 PageID 1030




                                I. INTRODUCTION

       This is a civil rights action for damages. Plaintiff has sued Defendants for

 deliberately depriving Plaintiff of his rights under the United States Constitution.

 Specifically, Plaintiff asserts claims against Defendants Gass, Petersilge, Gretka,

 Lingo, and James (the “Individual Defendants”) for using excessive force on

 Plaintiff in a malicious and sadistic manner in violation of the Eighth Amendment

 to the United States Constitution (Count I), and against Defendant FDC for

 discriminating against Plaintiff on the basis of disability in violation of the ADA and

 RA (Counts II and III, respectively).

       Plaintiff has been incarcerated in the custody of FDC since January 2002. He

 has a history of physical, mental, and intellectual disabilities. In particular, and

 unsurprisingly, Plaintiff was diagnosed with a developmental disability by Dr.

 Virginia Mesa, the Chief Health Officer at Lake Correctional Institution (“Lake

 CI”), in July 2017. Plaintiff was assigned a corresponding impairment/disability

 grade of “SY” based on his diagnosis with a developmental disability. Under FDC

 policy, this impairment grade identifies that Plaintiff has a documented

 developmental disability. There has been no change to Plaintiff’s impairment grade

 since July 2017. Thus, Plaintiff had a documented disability at all times relevant to

 this action, including at the time of the unlawful beating inflicted by the Individual

 Defendants on July 8, 2019.


                                           2
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 3 of 14 PageID 1031




       In order to recover compensatory damages in connection with his ADA and

 RA claims, Plaintiff must establish that he had a disability within the meaning of the

 ADA and RA. Because there can be no genuine dispute that Plaintiff had a

 documented developmental disability during his incarceration and at all times

 relevant to this action, Plaintiff is entitled to summary judgment as to the disability

 element of his ADA and RA claims.

           II. STATEMENT OF UNDISPUTED, MATERIAL FACTS

       Plaintiff is a forty-five (45) year old inmate incarcerated in Defendant FDC’s

 prison system and has been in FDC’s custody, continuously and without

 interruption, since January 9, 2002. See Plaintiff’s Inmate Population Information

 Detail [ECF No. 71-1]; see also Plaintiff’s FDC Medical Records 1 [ECF Nos. 71-2

 and 71-3]. Plaintiff has a documented history and record of being developmentally

 disabled and was diagnosed with such disability by FDC medical staff—namely, Dr.

 Virginia Mesa, Chief Health Officer at Lake CI—in July 2017. See ECF No. 71-2 at

 326. Based on this disability diagnosis, Plaintiff was assigned a corresponding

 impairment/disability grade of “SY = Developmentally disabled.” See id.; see also

 Health Services Bulletin 15.03.13, Assignment of Health Classification Grades to

 Inmates [ECF No. 71-4] (“HSB 15.03.13”) at 9.



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   Plaintiff’s Medical Records, as produced by Defendant FDC, are separated into two volumes
 (totaling 666 pages). See ECF Nos. 71-2 (Bates 0001-0332) and 71-3 (Bates 0333-0666).
                                             3
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 4 of 14 PageID 1032




 According to FDC policy,

       Developmental disabilities cause individuals living with them many
       difficulties in certain areas of life, especially in language, mobility,
       learning, self-help, and independent living. It reflects the person’s need
       for a combination and sequence of special, interdisciplinary, or generic
       care, treatment, or other services which are lifelong or extended
       duration and are individually planned and coordinated. Examples are
       intellectual disability, autism, Down syndrome, severe epilepsy, brain
       injury, and Alzheimer’s disease. This impairment grade identifies that
       the inmate has a documented developmental disability.

 HSB 15.03.13 at 9 (emphasis added); see also FDC Procedure 604.101, Americans

 with Disabilities Act Provisions for Inmates [ECF No. 71-5] (“Procedure 604.101”)

 at 2 (“Developmentally Disabled . . . refers to a diverse group of chronic conditions

 that is due to mental and/or physical impairments.”). FDC policy further instructs

 that “[i]nmates designated under the following impairment grades [including SY,

 meaning developmentally disabled] will be considered qualified individuals with

 impairments and/or disabilities as defined by Procedure 604.101, Americans with

 Disabilities Act Provisions for Inmates, for basic FDC services of housing and

 transportation.” HSB 15.03.13 at 5. There has been no change to Plaintiff’s

 impairment/disability grade since July 2017—which, again, was determined by Lake

 CI’s Chief Health Officer, Dr. Mesa. See generally Plaintiff’s FDC Medical Records

 [ECF Nos. 71-2, -3]. Thus, Plaintiff had a documented developmental disability at

 all times relevant to this action, including at the time Plaintiff was subjected to

 excessive and unlawful physical abuse on July 8, 2019, at Lake CI.


                                           4
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 5 of 14 PageID 1033




                               III. LEGAL STANDARD

       Summary judgment is appropriate and should be granted when “the pleadings,

 depositions, answers to interrogatories and admissions on file, together with the

 affidavits, if any, show that there is no genuine issue of material fact and that the

 moving party is entitled to summary judgment as a matter of law.” Fed. R. Civ. P.

 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Everett v. Napper, 833

 F.2d 1507, 1510 (11th Cir. 1987).

       An issue of fact is “genuine” if the record as a whole could lead a rational trier

 of fact to find for the nonmoving party; however, the “mere existence of some

 alleged factual dispute between the parties will not defeat an otherwise properly

 supported motion for summary judgment; the requirement is that there be no genuine

 issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986).

 “An issue of fact is ‘material’ if it is a legal element of the claim, as identified by the

 substantive law governing the case, such that its presence or absence might affect

 the outcome of the suit.” Tipton v. Bergrohr GMBH-Siegen, 965 F.2d 994, 998 (11th

 Cir. 1992) (citing Anderson, 477 U.S. at 248).

       A movant’s “burden under Rule 56 of ‘showing’ there are no genuine issues

 of material fact does not mandate citing record evidence at every turn.” Humphreys

 v. General Motors Corp., 839 F. Supp. 822, 825 (N.D. Fla. 1992). Conversely, in

 opposing summary judgment, “Rule 56(e) . . . requires the nonmoving party to go


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Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 6 of 14 PageID 1034




 beyond the pleadings and by her own affidavits, or by the ‘depositions, answers to

 interrogatories, and admissions on file,’ designate ‘specific facts showing that there

 is a genuine issue for trial.’” Unum Life Ins. Co. of Am. v. Sisk, No. 4:12cv62-

 RH/CAS, 2012 U.S. Dist. LEXIS 184554, at *4 (N.D. Fla. Dec. 6, 2012) (quoting

 Owen v. Wille, 117 F.3d 1235, 1236 (11th Cir. 1997)).

       “The Eleventh Circuit has consistently held that conclusory allegations

 without specific supporting facts have no probative value, and are legally insufficient

 to defeat summary judgment.” United States v. Neely, No. 3:07cv217/MCR/EMT,

 2008 U.S. Dist. LEXIS 115307, at *8 (N.D. Fla. Sep. 29, 2008) (citing Leigh v.

 Warner Bros., Inc., 212 F.3d 1210. 1217 (11th Cir. 2000); Sammons v. Taylor, 967

 F.2d 1533, 1544-5 & n.5 (11th Cir. 1992)). Thus, “[t]he court is not obliged [] to

 deny summary judgment for the moving party when the evidence favoring the

 nonmoving party is ‘merely colorable or is not significantly probative.’” Id. at *7

 (quoting Anderson, 477 U.S. at 249-50). Additionally, while “facts must be viewed

 in the light most favorable to the nonmoving party,” such inferences are proper “only

 if there is a ‘genuine’ dispute as to those facts.” Ricci v. DeStefano, 557 U.S. 557,

 586 (2009) (quoting Scott v. Harris, 550 U.S. 372, 380 (2007)) (emphasis added).




                                           6
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 7 of 14 PageID 1035




                                       IV. DISCUSSION

        Title II of the ADA provides that “no qualified individual with a disability

 shall, by reason of such disability, be excluded from participation in or be denied the

 benefits of the services, programs, or activities of a public entity, or be subjected to

 discrimination by any such entity.” 42 U.S.C. § 12132. 2 To prevail upon a claim

 under Title II of the ADA, a plaintiff must establish:

        (1) that he is a qualified individual with a disability; (2) that [s]he was
        either excluded from participation in or denied the benefits of a public
        entity's services, programs, or activities, or was otherwise discriminated
        against by the public entity; and (3) that the exclusion, denial of benefit,
        or discrimination was by reason of the plaintiff’s disability.

 Bircoll v. Miami-Dade Cty., 480 F.3d 1072, 1083 (11th Cir. 2007) (citing Shotz v.

 Cates, 256 F.3d 1077, 1079 (11th Cir. 2001)). “The elements of Title II may be

 further refined and a Plaintiff can proceed on theories ‘of intentional discrimination,

 disparate treatment, or failure to make reasonable accommodations.’” Garner v.

 Bryson, No. 5:16-cv-121, 2018 U.S. Dist. LEXIS 230515, at *10 (M.D. Ga. Jan. 11,




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    Section 504 of the RA contains virtually identical wording, except that it proscribes
 discrimination “under any program or activity receiving Federal financial assistance.” 29 U.S.C.
 § 794. The only relevant difference [from the ADA] is that the RA has a federal funding
 requirement. See Badillo v. Thorpe, 158 F. App’x 208, 214 (11th Cir. 2005). It is also well-settled
 that “[d]iscrimination claims under the Rehabilitation Act are governed by the same standards used
 in ADA cases.” Cash v. Smith, 231 F.3d 1301, 1305 (11th Cir. 2000); see also Silberman v. Miami
 Dade Transit, 927 F.3d 1123, 1134 (11th Cir. 2019) (“given the textual similarities between the
 two statutes, ‘the same standards govern’ claims under both, and we ‘rely on cases construing
 [Title II and § 504] interchangeably’”) (quoting T.W. ex rel. Wilson v. Sch. Bd. of Seminole Cty.,
 Fla., 610 F.3d 588, 604 (11th Cir. 2010)). Thus, Plaintiff’s ADA and RA claims are properly
 analyzed using the same standard.
                                                 7
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 8 of 14 PageID 1036




 2018) (quoting Rylee v. Chapman, 316 F. App’x 901, 906 (11th Cir. 2009), and

 citing Schwarz v. City of Treasure Island, 544 F.3d 1201, 1212 n.6 (11th Cir. 2008)).

 “[A] disabled prisoner can state a Title II-ADA claim if he is denied participation in

 an activity provided in state prison by reason of his disability.” Bircoll, 480 F.3d at

 1081 (citing Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 211 (1998)). Moreover, a

 qualified inmate who is denied the benefit of medical services by reason of his

 disability can state a Title II-ADA claim. See Garner, 2018 U.S. Dist. LEXIS

 230515, at *9-10 (citing Yeskey, 524 U.S. at 211, 213; Bircoll, 480 F.3d at 1081).

                            A. Plaintiff Has A “Disability” 3

        The ADA defines “disability” as “(A) a physical or mental impairment that

 substantially limits one or more major life activities of such individual; (B) a record

 of such an impairment; or (C) being regarded as having such an impairment.” 42

 U.S.C. § 12102(1); see also 28 C.F.R. § 35.108(a)(1). Plaintiff only needs to satisfy

 one of those definitions. Gordon v. E.L. Hamm & Assocs., 100 F.3d 907, 911 (11th

 Cir. 1996); 28 C.F.R. § 35.108(a)(2)(ii). Moreover, “[t]he definition of ‘disability’

 shall be construed broadly in favor of expansive coverage, to the maximum extent

 permitted by the terms of the ADA.” 28 C.F.R. § 35.108(a)(2)(i).




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   To be clear, Plaintiff seeks summary judgment only on the disability element of his ADA and
 RA claims at this time, and expressly reserves the right to move for summary judgment on the
 remaining elements of his claims at the later date.
                                              8
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 9 of 14 PageID 1037




       A “physical or mental impairment” means, in pertinent part, “[a]ny

 physiological disorder or condition . . . affecting one or more body systems,” such

 as the neurological system, or “[a]ny mental or psychological disorder such as

 intellectual disability, organic brain syndrome, emotional or mental illness, and

 specific learning disability.” 28 C.F.R. § 35.108(b)(1).

       Major life activities include caring for oneself, speaking, learning, reading,

 concentrating, thinking, writing, communicating, and interacting with others. Id. §

 35.108(c)(1)(i). Major life activities also include the operation of a major bodily

 function—including, namely, brain function. Id. § 35.108(c)(1)(ii). “Whether an

 activity is a major life activity is not determined by reference to whether it is of

 central importance to daily life.” Id. § 35.108(c)(2)(ii).

       The term “substantially limits” must be “construed broadly in favor of

 expansive coverage, to the maximum extent permitted by the terms of the ADA.” Id.

 § 35.108(d)(1)(i). An impairment only needs to substantially limit one major life

 activity to be considered a disability. Id. § 35.108(d)(1)(iii). “The primary object of

 attention in cases under Title II of the ADA should be whether public entities have

 complied with their obligations and whether discrimination has occurred. . . .

 Accordingly, the threshold issue of whether an impairment ‘substantially limits’ a

 major life activity should not demand extensive analysis.” Id. § 35.108(d)(1)(ii).




                                            9
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 10 of 14 PageID 1038




         In addition to providing the above-referenced definitions and guiding

  principles, the ADA regulations further identify certain “types of impairments,”

  which “will, at a minimum, substantially limit the major life activities indicated.” Id.

  § 35.108(d)(2)(iii) (“Predictable assessments”). Notably, in applying these

  principles, the Attorney General 4         has concluded that “Intellectual disability

  substantially limits brain function.” Id. § 35.108(d)(2)(iii)(C); see also id. §

  35.108(d)(2)(iii)(E), (I), (K) (recognizing autism, epilepsy, and traumatic brain

  injury as impairments that substantially limit brain and/or neurological function).

  Thus, an individual impaired by an intellectual disability, autism, epilepsy, traumatic

  brain injury, or any of the other impairments listed will, “in virtually all cases,” result

  in a determination coverage under the “actual disability” prong or the “record of”

  prong of the ADA analysis. See id. § 35.108(d)(2)(ii)-(iii).

         In this case, it is undisputed that Plaintiff was diagnosed with a developmental

  disability by Dr. Virginia Mesa, the Chief Health Officer at Lake CI, in July 2017.

  As a result, Plaintiff was given a corresponding impairment/disability grade of “SY”

  to acknowledge his developmentally disabled status. See ECF No. 71-2 at 326. FDC

  recognizes that developmental disabilities cause individuals living with them many

  difficulties in certain areas of life, especially in language, mobility, learning, self-


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    “Because Congress explicitly authorized the Attorney General to promulgate regulations under
  the ADA, see 42 U.S.C. § 12134(a), the regulations ‘must [be given] legislative and hence
  controlling weight . . . .’” Shotz, 256 F.3d at 1079 n.2.
                                               10
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 11 of 14 PageID 1039




  help, and independent living, and reflect the person’s need for a combination and

  sequence of lifelong care, treatment, or services. See HSB 15.03.13 at 9.

         Moreover, FDC explicitly recognizes “intellectual disability” and five other

  impairments 5 as an example of a developmental disability. Although FDC did not

  identify the specific type of developmental disability Plaintiff suffers from in the

  incomplete records produced to date, FDC nonetheless identified Plaintiff as having

  a developmental disability, which includes each of the six examples/types listed in

  HSB 15.03.13 as recognized disabilities, including intellectual disability. Thus, the

  mere fact that Plaintiff was assigned the SY impairment/disability grade means that

  Plaintiff was identified by FDC as having a documented developmental disability,

  regardless of the specific type, but at least one of the types listed in HSB 15.03.13

  or a similar impairment within the penumbra of developmental disability that would

  qualify under the ADA. See Procedure 604.101 at 2 (acknowledging that the term

  ‘developmentally disabled’ refers to a diverse group of chronic conditions that is due

  to mental and/or physical impairments).

         Notably, Plaintiff’s status as a developmentally disabled inmate has remained

  unchanged since Dr. Mesa’s diagnosis and assignment of an impairment/disability

  grade in July 2017. Any inmate who is assigned an impairment/disability grade is



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   FDC policy states: “Examples [of developmental disability] are intellectual disability, autism,
  Down syndrome, severe epilepsy, brain injury, and Alzheimer’s disease.” HSB 15.03.13 at 9.
                                                11
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 12 of 14 PageID 1040




  considered disabled under both the ADA and by FDC. Accordingly, there can be no

  genuine dispute that Plaintiff has a documented developmental disability within the

  FDC, and that FDC regarded Plaintiff as developmentally disabled.

        Lastly, based on Plaintiff’s documented developmental disability within FDC,

  “the necessary individualized assessment should be particularly simple and

  straightforward,” and thus “it should easily be concluded” that Plaintiff suffered

  from an impairment (i.e., developmental/intellectual disability) that substantially

  limited at least one major life activity (i.e., brain function). See 28 C.F.R. §

  35.108(d)(2)(ii); id. § 35.108(d)(2)(iii)(C) (“Intellectual disability substantially

  limits brain function”); see also id. § 35.108(d)(2)(iii)(E) (autism); id. §

  35.108(d)(2)(iii)(I) (epilepsy); id. § 35.108(d)(2)(iii)(K) (traumatic brain injury);

  Harvard v. Inch, 411 F. Supp. 3d 1220, 1240-41 (N.D. Fla. 2019) (citing 28 C.F.R.

  § 35.108(d)(2)(iii) and concluding that each plaintiff alleged a type of impairment

  that substantially limited the major life activities indicated).

        Accordingly, Plaintiff is entitled to summary judgment as to the disability

  element of his ADA and RA claims since there can be no genuine dispute that

  Plaintiff was diagnosed with, had a record of, and was regarded by FDC as having a

  developmental disability during his incarceration, including prior to and at the time

  of the events giving rise to this action.




                                              12
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 13 of 14 PageID 1041




                                  V. CONCLUSION

        WHEREFORE, for the reasons set forth above, Plaintiff respectfully requests

  that this Court (1) conclude that Plaintiff has a disability within the meaning of the

  ADA and RA based on his documented developmental disability within the FDC

  and (2) grant partial summary judgment as to the disability element of Plaintiff’s

  ADA and RA claims against FDC.

                                         Respectfully submitted,

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                                           13
Case 5:20-cv-00323-WWB-PRL Document 72 Filed 06/22/21 Page 14 of 14 PageID 1042




                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 22nd day of June 2021, a true and correct

  copy of the foregoing was electronically filed in the United States District Court for

  the Middle District of Florida using the CM/ECF system, which will send a notice

  of electronic filing to all counsel of record.

                                           /s/ John M. Vernaglia
                                           JOHN M. VERNAGLIA




                                             14
